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    IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE
                 DISTRICT OF PENNSYLVANIA

JOAN LONGENECKER-WELLS,                        :
KENNETH DODSON,                                :
GENEVIEVE REGAL, BENJAMIN                      :   CIVIL ACTION
HUFFNAGLE, and NICHOLAS                        :   HON. WILLIAM W. CALDWELL
DANKOSKY, individually and on                  :   NO. 1:15-CV-00422-WWC
behalf of all others similarly situated,       :
                                               :
            Plaintiffs                         :   CLASS ACTION
                                               :   COMPLAINT
                   v.                          :
                                               :
BENECARD SERVICES, INC.                        :
d/b/a BENECARD PBF,                            :
BENECARD CENTRAL FILL                          :
OF PA, LLC, BENECARD                           :
MARKETING, L.L.C., NATIONAL                    :   JURY TRIAL DEMANDED
VISION ADMINISTRATORS                          :
LLC, and CONTACT FILL, LLC                     :
                                               :
            Defendants                         :

                 AMENDED CLASS ACTION COMPLAINT

      AND NOW, come the Plaintiffs, Joan Longenecker-Wells, Kenneth Dodson,

Genevieve Regal, Benjamin Huffnagle, and Nicholas Dankosky (collectively the

“Plaintiffs”), through counsel, individually and on behalf of all others similarly

situated (the proposed "Class"), who bring this Amended Class Action Complaint

against Benecard Services, Inc. d/b/a Benecard PBF, Benecard Central Fill of PA,



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LLC, Benecard Marketing, L.L.C., National Vision Administrators LLC, and

Contact Fill, LLC (collectively the “Defendants” or "Benecard"), and aver the

following:

                           NATURE OF THE ACTION

      1.     The Plaintiffs bring this Class Action Complaint on behalf of

themselves and all other current and former employees and customer members of

the Defendants whose private information (the “Information”) was wrongfully

disclosed to unknown persons (the “Security Breach” or “Breach”).

      2.     The Defendants had a duty to protect and adequately secure this

Information, which was highly confidential.

      3.     The Defendants violated this duty, resulting in the aforementioned

Security Breach, and this Breach resulted in significant injury to the Plaintiffs and

proposed Class members, which is described in detail herein.

      4.     In addition, the Defendants failed to adequately and timely notify the

Plaintiffs and proposed Class members of the Security Breach, causing further

irreparable financial injury.

                        JURISDICTIONAL STATEMENT

      5.     This Court has original jurisdiction over this action under the Class

Action Fairness Act ("CAFA"), 28 U.S.C. § 1332(d)(2).               The amount in

controversy in this action exceeds $5,000,000, exclusive of interests and costs,



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there are more than 100 members of the proposed Class, as defined herein, and the

Plaintiffs and proposed Class members are citizens of different states than one or

more defendants.

      6.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), since

Defendants regularly transact business in this District, and a substantial part of the

events giving rise to this Complaint arose in this District.

                                      PARTIES

      7.     Plaintiff Joan Longenecker-Wells is a former employee and customer

member of Benecard, residing in Pennsylvania.

      8.     Plaintiff Kenneth Dodson is a former employee and customer member

of Benecard, residing in Pennsylvania.

      9.     Plaintiff Genevieve Regal is a former employee and customer member

of Benecard, residing in Pennsylvania.

      10.    Plaintiff Benjamin Huffnagle is a former employee and customer

member of Benecard, residing in Pennsylvania.

      11.    Plaintiff Nicholas Dankosky is a former employee and customer

member of Benecard, residing in Pennsylvania.

      12.    Defendant Benecard Services, Inc. (“Benecard”) is a New Jersey

corporation and Pennsylvania Foreign Corporation with a registered address in




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Dauphin County, Pennsylvania, which does business under the Pennsylvania

registered fictitious name of Benecard PBF.

      13.   Defendant Benecard Central Fill of PA, LLC (“Benecard Central”) is

a Florida corporation and Pennsylvania Foreign Limited Liability Company with a

registered address in Dauphin County, Pennsylvania.

      14.   Defendant Benecard Marketing, L.L.C. (“Benecard Marketing”) is a

New Jersey corporation and Pennsylvania Foreign Limited Liability Company with

a registered address in Dauphin County, Pennsylvania.

      15.   Defendant National Vision Administrators LLC (“National Vision”) is

a New Jersey corporation and Pennsylvania Foreign Limited Liability Company

with a registered address in Dauphin County, Pennsylvania.

      16.   Defendant Contact Fill, LLC (“Contact Fill”) is a Pennsylvania

Domestic Limited Liability Company with a registered address in Dauphin County,

Pennsylvania.

      17.   Benecard’s family of companies includes Benecard PBF, Benecard

Central, Benecard Marketing, National Vision, and Contact Fill, all of which are

believed to be subsidiaries of the Ullman Family Partnership, LP, which is a New

Jersey partnership and Pennsylvania Foreign Limited Partnership with a registered

address in Dauphin County, Pennsylvania.




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      18.   Benecard and its family of companies provide prescription benefit

administration services that include mail and specialty drug dispensing, managed

vision services, and contact lens mail service to private and public sector

organizations with 100 to 5,000+ members. Benecard has offices in New Jersey,

Pennsylvania, and Florida.

  DEFENDANTS’ NOTICE OF POTENTIAL SECURITY BREACH AND
  FINANCIAL HARM TO EMPLOYEES AND CUSTOMER MEMBERS

      19.   The Defendants had actual and significant notice of the risk of a

security breach and the resultant financial harm posed to the Plaintiffs and

proposed Class members.

      20.   In fact, in September 2011, Benecard suffered a prior security breach

that affected current employees and customer members.

      21.   After the prior September 2011 breach, several affected current

employees and customer members had fraudulent tax returns filed in their names.

      22.   In addition to the aforementioned prior security breach, the

Defendants had further notice of the risk of a Security Breach and the resultant

financial harm posed to the Plaintiffs and proposed Class members, as such risks

are commonly understood and companies like Defendants are routinely warned

about such Breaches.

      23.   For example, the 2013 Identity Fraud Report released by Javelin

Strategy & Research ("Javelin Report") reported that in 2012 identity fraud

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incidents increased by more than one million victims, and fraudsters stole nearly

$21 billion.

      24.      The 2013 Javelin report found 12.6 million victims of identity fraud in

the United States in the last year, equating to 1 victim every 3 seconds.

      25.      The 2013 Javelin report also found that nearly one in four data breach

letter recipients become a victim of identity fraud, with breaches involving Social

Security numbers to be the most damaging.

      26.      More recently, Javelin Strategy & Research released its 2014 report,

which further highlighted the continued danger from security breaches.

      27.      The 2014 Javelin report found that 13.1 million people fell victim to

identity fraud, over 1 million more than in 2013.

      28.      The United States Government has also warned companies to

carefully protect their employees’ and customer members' sensitive private

information.

      29.      To assist companies in protecting the security of such information, the

Federal Trade Commission ("FTC") has issued a publication entitled "Protecting

Personal Information: A Guide for Business" (the “FTC Guide”).

      30.      The FTC Guide advises companies to “pay particular attention to how

you keep personally identifying information: Social Security numbers, credit card




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or financial information, and other sensitive data. That’s what thieves use most

often to commit fraud or identity theft.”

      31.    The FTC Guide further advises companies regarding basic protocols

that should be followed to protect such sensitive information, including how to

secure the information and respond to security incidents.

    THE ACTUAL SECURITY BREACH AND RESULTANT DAMAGE

      32.    Prior to commencing employment with the Defendants and/or using

the Defendants' services as customer members, the Plaintiffs and proposed Class

members provided the Defendants with private Information, including, but not

limited to, their full names, dates of birth, addresses, and social security numbers.

      33.    The Plaintiffs and proposed Class members providing this information

to the Defendants was a prerequisite to employment with the Defendants, and/or

utilizing the Defendants' services.

      34.    Throughout the course of the Plaintiffs’ and proposed Class members’

employment and/or customer member relationship, the Defendants maintained the

Plaintiffs’ and proposed Class members’ confidential personal financial

information, including, but not limited to, W-2 tax forms.

      35.    The Plaintiffs and proposed Class members reasonably expected that

the Defendants would protect this information from a breach.




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      36.   The Plaintiffs and proposed Class members would not have provided

their confidential personal financial information to the Defendants had they known

that the Defendants would not adequately protect such information.

      37.   The Plaintiffs’ and proposed Class members’ Information, which was

held and secured by the Defendants was compromised and/or otherwise

misappropriated by unknown parties within the past several months.

      38.   The Plaintiffs’ and proposed Class members’ Information was

obtained by unknown parties due to the Defendants’ failure to adequately protect

and secure that Information.

      39.   The Defendants violated administrative guidelines, best practices, and

industry standards regarding the security of the Plaintiffs’ and proposed Class

members' Information, and otherwise failed to adopt necessary policies and

procedures to protect the release of the Plaintiffs' and proposed Class members'

Information to unknown parties.

      40.   These oversights included, but were not limited to:

            a)       failing to adequately encrypt confidential Information;

            b)       failing to safely transmit confidential Information;

            c)       failing to establish adequate firewalls to protect confidential

      Information;

            d)       failing to protect from server intrusion;



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             e)     failing to timely and appropriately handle, store, and destroy

      confidential Information; and,

             f)     failing to adequately protect confidential Information on their

      internal network.

      41.    The aforementioned violations and failures were the direct and

proximate cause of the Plaintiffs’ and proposed Class members’ injuries.

      42.    Because of the Breach, unknown persons filed fraudulent tax returns

in the Plaintiffs’ and proposed Class members’ names for the 2014 tax year,

causing immediate and future financial injury.

      43.    It is believed, and therefore averred, that the IRS issued tax refunds to

these unknown parties rather than to the Plaintiffs and proposed Class members.

      44.    The Plaintiffs and proposed Class members have also incurred

additional financial harm, including, but not limited to, additional filing fees,

accounting costs, and identity theft protection.

      45.    In addition to the filing of the fraudulent tax returns, the Defendants'

failures enabled unknown parties to have access to the Information, which will

likely be used to perpetrate further financial fraud.

      46.    The Plaintiffs and proposed Class members are now spending

countless hours frantically attempting to perform damage control to prevent further

devastation to their credit and livelihood.



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      47.       The Defendants’ failure to timely disclose the extent of the Security

Breach and to notify those affected in a judicious manner has caused further

damage to the Plaintiffs and the proposed Class members.

      48.       Defendants have failed to offer any explanation for the cause of the

breach, how the unknown parties were able to access the Plaintiffs' and proposed

Class members' Information, and what steps, if any, the Defendants have taken or

will take in the future to ensure that the Information will be adequately protected.

                NOTICE OF THE ACTUAL SECURITY BREACH

      49.       It is believed, and therefore averred, that the Defendants learned that

unknown persons obtained the Plaintiffs’ and proposed Class members’

Information on or about February 13, 2015.

      50.       On February 20, 2015, the Plaintiffs and proposed Class members

then presently employed by the Defendants received an email notification from

the Defendants stating that there “may have been unauthorized access to employee

information.” (emphasis added).

      51.       The Defendants’ February 20, 2015 email notification further advised

that due to this Breach “some employees have run into problems filing their 2014

tax returns.”

      52.       The Defendants’ February 20, 2015 email notification fails to clearly

state that the Information had absolutely been misappropriated and was being used



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by unknown parties to file fraudulent tax returns, although Defendants were well

aware of this fact at the time of the notification.

      53.    Worse still, the Defendants’ February 20, 2015 email notification was

not sent to the Plaintiffs and proposed Class members who were then former

employees or customer members of the Defendants.

      54.    On February 25, 2015, a second email notification was sent by the

Defendants to the Plaintiffs and proposed Class members presently employed by

the Defendants, which again advised "we have learned that fraudulent federal tax

returns have been filed for some of our employees."

      55.    Again, this second email notification was not sent to the Plaintiffs and

proposed Class members who were then former employees or customer

members of the Defendants.

      56.    As of the original date of filing of the Class Action Complaint, the

Plaintiffs and proposed Class members who were former employees or customer

members of the Defendants had not received any notification of the Security

Breach from the Defendants.

      57.    As of the original date of filing of the Class Action Complaint, none

of the Plaintiffs and proposed Class members who are or used to be customer

members of the Defendants or who work or used to work for the Defendants had




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received information regarding the scope of the breach, or how many fraudulent

tax returns had been filed.

      58.    Under Pennsylvania’s Breach of Personal Information Notification

Act, 73 Pa. Stat. § 2301 et seq., the Defendants had an obligation to provide notice

of any breach without unreasonable delay, which Defendants failed to do.

                       CLASS ACTION ALLEGATIONS

      59.    The Plaintiffs bring this action on their behalf and on behalf of all

similarly situated persons as a Class Action pursuant to Federal Rule of Civil

Procedure 23.

      60.    The Plaintiffs bring this action on behalf of two proposed Classes, to

be defined as:

            a)    All current and former employees of the Defendants who
      are citizens of the United States whose personal and financial
      information was compromised and/or otherwise misappropriated.

            b)    All current and former customer members of the
      Defendants who are citizens of the United States whose personal and
      financial information was compromised and/or otherwise
      misappropriated.

      61.    The Plaintiffs are members of the Classes they seek to represent.

      62.    The Classes are so numerous that joinder of all members is

impracticable, since (1) as many as 600 current and former employees' Information

has been compromised, and (2) as many as 35,000 customer members' Information




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has been compromised (referred to collectively as the "proposed Class" throughout

this Complaint).

       63.     The members of the Classes are readily ascertainable, as they can be

identified by records maintained by Defendants. Notice can be provided by means

permissible under Rule 23.

       64.     The Plaintiffs' claims are typical of the claims of all the members of

the Classes.

       65.     The Plaintiffs' and Class members' claims arise from the Defendants'

failure to provide reasonable security measures and policies to protect their

Information, which resulted in damages.

       66.     The conduct of the Defendants has caused actual injury and imminent

threat of injury to the Plaintiffs and members of the Class.

       67.     Prosecuting separate actions by individual Class members would

create a risk of inconsistent or varying adjudications.

       68.     The Plaintiffs will fairly and adequately represent the interests of the

Class, as the named Plaintiffs have no interests antagonistic to or in conflict with

those of the Class members.

       69.     The Plaintiffs are represented by experienced counsel, who are

qualified to litigate this case.




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      70.    A Class Action is superior to all other available methods for the fair

and efficient adjudications of this controversy. Individual Class members’ claims

may be too small to justify the time and expense of litigation, which would render

it impossible for them to address the Defendants’ conduct.           Permitting the

Plaintiffs’ and Class members’ claims to proceed as a Class Action will advance

the orderly resolution of this case, and promote judicial economy.

      71.    There are questions of law and fact common to all members of the

Class, which predominate over individualized questions, including:

             a)    Whether the Defendants provided adequate security and/or

      protection for the Plaintiffs’ and proposed Class members’ Information;

             b)    Whether the Defendants' conduct resulted in the unauthorized

      access to the Plaintiffs' and proposed Class members' Information;

             c)    Whether the Plaintiffs and proposed Class members are entitled

      to damages, and the measure of such damages.

                                    COUNT I

                                 NEGLIGENCE

      72.    The allegations throughout this Complaint are incorporated as if set

forth at length.

      73.    The Defendants had a duty to exercise reasonable care to protect and

secure the Plaintiffs' and the proposed Class members' Information from being



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compromised, lost, stolen, misused, and/or otherwise disclosed to unauthorized

parties.

       74.   The Defendants' duties included, but were not limited to, designing,

implementing, maintaining, and testing security systems that ensured the Plaintiffs'

and the proposed Class members' Information was adequately secured and

protected, and that would detect a Security Breach in a timely manner.

       75.   Through the Defendants' acts and/or omissions, the Defendants

breached their duties regarding the Plaintiffs' and proposed Class members'

Information by:

             a)    Failing to adequately monitor and provide for the security of

       the Information;

             b)    Allowing unauthorized access to Plaintiffs' and the proposed

       Class members' Information;

             c)    Failing to recognize in a timely manner that Plaintiffs' and

       proposed Class members' Information had been compromised.

             d)    Failing to comply with industry standards relating to

       Information security; and,

             e)    Unreasonably delaying informing the Plaintiffs and proposed

       Class members of the Security Breach.




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        76.   Without the Defendants' negligent actions and/or omissions and

breach of their duties owed to the Plaintiffs and proposed Class members, the

Security Breach would not have occurred and the Plaintiffs' and proposed Class

members' Information would not have been compromised and/or otherwise

misappropriated.

        77.   The Plaintiffs' and proposed Class members' injuries were the

reasonably foreseeable result of the Defendants' failure to exercise reasonable care

in safeguarding, protecting, and/or securing the Plaintiffs' and proposed Class

members' Information, as the Information provided by the Plaintiffs and proposed

Class members is frequently the target of data breach crimes.

        78.   The Plaintiffs and proposed Class members are part of a well-defined

and foreseeable class who were well known and identifiable to the Defendants.

        79.   The Defendants' negligent handling of the Information was the direct

and proximate cause of the Plaintiffs' and proposed Class members' foreseeable

harm.

        80.   As a result of Defendants' negligence, the Plaintiffs and proposed

Class members have suffered actual damages including, but not limited to, lost

2014 tax refunds, expenses for re-filing, expenses for credit monitoring, identity

theft protection, lost work time, anxiety, emotional distress, loss of privacy, and

other economic and non-economic harm.



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      81.    In addition, as a result of the Defendants' negligence, the Plaintiffs

and proposed Class members are at an increased and imminent risk of becoming

victims of identity theft crimes, fraud and abuse.

                                     COUNT II

                     BREACH OF IMPLIED CONTRACT

      82.    The allegations throughout this Complaint are incorporated as if set

forth at length.

      83.    When the Defendants required the Plaintiffs and proposed Class

members to supply their Information, the Defendants entered into an implied

contract with the Plaintiffs and proposed Class members that the Defendants would

protect the Information.

      84.    This implied contract arose from the course of conduct between the

Plaintiffs and proposed Class members and the Defendants.

      85.    This implied contract required the Defendants to safeguard and

protect the Plaintiffs' and proposed Class members' Information from being

compromised and/or otherwise misappropriated.

      86.    The Defendants did not adequately safeguard or protect the Plaintiffs'

and proposed Class members' Information from being compromised and/or

otherwise misappropriated.




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      87.   The Defendants did not adequately maintain sufficient security

measures and procedures to prevent the unauthorized access to Plaintiffs' and

proposed Class members' Information.

      88.   Because the Defendants failed to safeguard and/or protect the

Plaintiffs' and proposed Class members' Information from being compromised

and/or otherwise misappropriated, the Defendants breached the implied contract

with the Plaintiffs and proposed Class members.

      89.   The Plaintiffs and proposed Class members have suffered and will

continue to suffer damages as the result of the Defendants' breach, as described

herein.

                             PRAYER FOR RELIEF

      WHEREFORE, the Plaintiffs, individually and on behalf of all others

similarly situated, request this Court enter judgment against the Defendants in

favor of the Plaintiffs and proposed Class members, and award the following:

            a)     That this action be certified as a Class Action pursuant to

      Federal Rule of Civil Procedure 23;

            b)     That Plaintiffs be declared as representatives of the Class, and

      Plaintiffs’ counsel as counsel for the class;

            c)     Award damages in excess of $5,000,000; and,

            d)     Award reasonable counsel fees and expenses.



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                                 Respectfully Submitted,

                                 ANDREOZZI & ASSOCIATES, P.C.

Dated: June 23, 2015             /s/ Benjamin D. Andreozzi
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                          CERTIFICATE OF SERVICE

      I, Benjamin D. Andreozzi, Esq., counsel for Plaintiffs, hereby certify that a

true and correct copy of the foregoing document was served upon the following

counsel via this Court's electronic filing system.

                                David Shannon, Esq.
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                                Lauren Burnette, Esq.
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Dated: June 23, 2015                           /s/ Benjamin D. Andreozzi
                                               Benjamin D. Andreozzi, Esq.
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